               Case 3:23-cv-05364-RJB Document 78 Filed 11/17/23 Page 1 of 3



1                                                THE HONORABLE JUDGE ROBERT J. BRYAN
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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT TACOMA
10    LAWRENCE HARTFORD, et al.,
11
                           Plaintiffs,                          NO. 3:23-cv-05364-RJB
12
      -vs-                                                      NOTICE OF ATTORNEY
13                                                              WITHDRAWAL
14    BOB FERGUSON, in his official capacity as
      Washington State Attorney General, et al.,
15
                           Defendants.
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     TO:     ALL PARTIES AND THEIR COUNSEL OF RECORD
18
     AND TO:       THE CLERK OF THE COURT
19

20           YOU ARE HEREBY NOTIFIED of a change of attorneys for Defendants Chad Enright

21   and John Gese in the above-entitled action. Effective immediately, Christine M. Palmer, Senior
22
     Deputy Prosecuting Attorney, has withdrawn as attorney of record for Defendants Chad Enright
23
     and John Gese.     Please also take notice that Katherine A. Cummings, Deputy Prosecuting
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25
     Attorney, remains counsel of record for Defendants Chad Enright and John Gese.

26   ///
27   ///
28

                                                                                             CHAD M. ENRIGHT
                                                                                       Kitsap County Prosecuting Attorney
     NOTICE OF ATTORNEY WITHDRAWAL                                                        614 Division Street, MS-35A
                                                                                         Port Orchard, WA 98366-4676
     (3:23-cv-05364-RJB) – Page 1                                                     (360) 337-4992 Fax (360) 337-7083
                                                                                         www.kitsapgov.com/pros
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1         Respectfully submitted this 17th day of November, 2023.
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                                                  CHAD M. ENRIGHT
3                                                 Kitsap County Prosecuting Attorney

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5
                                                  /s/ Christine M. Palmer
                                                  CHRISTINE M. PALMER, WSBA No. 42560
6                                                 Senior Deputy Prosecuting Attorney
                                                  Withdrawing Attorney for Defendants Chad
7                                                 Enright and John Gese
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                                                                                         CHAD M. ENRIGHT
                                                                                   Kitsap County Prosecuting Attorney
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                                                                                       www.kitsapgov.com/pros
              Case 3:23-cv-05364-RJB Document 78 Filed 11/17/23 Page 3 of 3



1                                     CERTIFICATE OF SERVICE
2
            I hereby certify that on November 17, 2023, I electronically filed the foregoing document
3
     with the Clerk of the United States District Court using the CM/ECF system which will send
4

5
     notification of such filing to all parties who are registered with the CM/ECF system.

6           SIGNED in Port Orchard, Washington this 17th day of November, 2023.
7

8
                                                         Batrice Fredsti, Paralegal
9                                                        Kitsap County Prosecutor’s Office
                                                         614 Division Street, MS-35A
10                                                       Port Orchard WA 98366
11                                                       Phone: 360-337-7032

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                                                                                                    CHAD M. ENRIGHT
                                                                                              Kitsap County Prosecuting Attorney
     NOTICE OF ATTORNEY WITHDRAWAL                                                               614 Division Street, MS-35A
                                                                                                Port Orchard, WA 98366-4676
     (3:23-cv-05364-RJB) – Page 3                                                            (360) 337-4992 Fax (360) 337-7083
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